 Case 8:21-cv-00376-WFJ-SPF Document 24 Filed 04/13/22 Page 1 of 1 PageID 82

                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

JENNIFER FERLICCHI,

       Plaintiff,

v.                                                     Case No: 8:21-cv-376-WFJ-SPF

SARASOTA COUNTY PUBLIC
HOSPITAL DISTRICT,

       Defendant.
                                            /

                                        ORDER

       The Court has been advised by the Mediation Report (Dkt. 23) that the above-

styled action has been settled. Accordingly, pursuant to Local Rule 3.09, M.D. Fla., it

is

       ORDERED AND ADJUDGED that this cause is hereby DISMISSED without

prejudice and subject to the right of the parties, within sixty (60) days of the date of this

order, to submit a stipulated form of final order or judgment should they so choose or

for any party to move to reopen the action, upon good cause shown. After that 60-day

period, however, dismissal shall be with prejudice. The Clerk is directed to terminate

any pending motions/deadlines and to CLOSE the file.

        DONE and ORDERED in Tampa, Florida on April 13, 2022.

                                             s/William F. Jung
                                           WILLIAM F. JUNG
                                           UNITED STATES DISTRICT JUDGE
COPIES FURNISHED TO:
Counsel of Record
